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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
APP WINDDOWN, LLC, et al.,!
) Case No. 16-12551 (BLS)
)
Debtors. ) (Jointly Administered)
) Re: 170, M93

ORDER GRANTING HUDSON 6922 HOLLYWOOD LLC’S
MOTION FOR RELIEF FROM THE AUTOMATIC STAY
TO EXERCISE HTS OF SETOFF

This Court having considered the motion (the “Motion”)’ of Hudson 6922 Hollywood
LLC (“Hudson”) for entry of an order pursuant to sections 362 and 553 of title 11 of the United
States Code (the “Bankruptcy Code”) granting Hudson relief from the automatic stay to permit
Hudson to exercise its right to setoff of the Hudson Claim against the Debtors’ Security Deposit.
The Court having considered the Motion and the supporting exhibits; and it appearing that this
Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing
that this proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that
venue of this proceeding and this Motion is proper in this district pursuant to 28 U.S.C. §§ 1408

and 1409; and it appearing that the legal and factual bases set forth in the Motion establish

sufficient cause for the relief granted herein; and notice of the Motion appearing to be adequate

 

' The Debtors are the following six entities (the last four digits of their respective taxpayer
identification numbers follow in parentheses): APP Winddown, LLC (f/k/a American Apparel,
LLC) (0601); APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC) (8940); APP
Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.) (7829); APP D&F Winddown, Inc.
(f/k/a American Apparel Dyeing & Finishing, Inc.) (0324); APP Knitting Winddown, LLC (f/k/a
KCL Knitting, LLC) (9518); and APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)
(3870). The address of each of the Debtors is 117 Millcreek Comers, Suite B, P O Box 5129,
Brandon, MS 39047.

2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
them in the Motion.

 
 

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@ and appropriate under the circumstances; and there being no objection to the requested relief to

the extent set forth herein; and after due deliberation and sufficient cause appearing therefore, it

is hereby ORDERED that:

Dated: \

1. The Motion is granted to the extent set forth herein.

2. The automatic stay is modified, pursuant to 11 U.S.C. §§ 362(d), solely to
the extent necessary to allow Hudson to exercise its right to setoff the Hudson Claim
against the Debtors’ Security Deposit.

3. The Order shall take effect immediately upon entry in accordance with
Federal Rule of Bankruptcy Procedure 4001(a)(3).

4. Nothing herein shall be construed as an allowance or acknowledgment of
the validity of the Hudson Claim in excess of the amount of the Security Deposit, and
the Debtors’ reserve all other rights with respect to the Hudson Claim.

5. The Court retains jurisdiction with respect to all matters arising from or

related to the implementation and enforcement of this Order.

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on, Delaware
UNITED STATES BANKRUPTCY JUDGE

 
